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Case 2:13-cv-01123-JCM-NJK Document 12 Filed 12/26/13 Page 1 of 2

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Attorney for Defendant, NCO Financial Systems, Inc.

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

DONALD CONRAD,
Plaintiff,
Vv.

NCO FINANCIAL SYSTEMS, INC.;
and DOES 1-10, inclusive,

Defendant.

 

 

 

) Case No. 2:13-cv-01123-JCM-NJK

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JOINT STIPULATION OF
DISMISSAL WITH PREJUDICE

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JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff, Donald Conrad, and
Defendant NCO Financial Systems, Inc. (“NCO”) hereby jointly stipulate to the dismissal

with prejudice of Plaintiff's claims against NCO with each side to bear its own fees and

costs.

Dated: December __2013.
/s/ David H. Kreiger
David H. Krieger, Esq.

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Case 2:13-cv-01123-JCM-NJK Document12 Filed 12/26/13 Page 2 of 2
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5 CERTIFICATE OF SERVICE
5 I certify that on this day of December, 2013, a copy of the foregoing was
4 filed electronically in the ECF system. Notice of this filing will be sent to the parties of
5 || record by operation of the Court’s electronic filing system, including Plaintiffs counsel
6 || as described below. Parties may access this filing through the Court’s system.
7 David H. Krieger, Esq.
Haines & Krieger, LLC
8 5041 N. Rainbow Boulevard
Las Vegas, NV 89130
9
10
11 Barbara J. Privett, an employee
of THE LAW OFFICES OF
12 LINCOLN, GUSTAFSON & CERCOS
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